        Case 1:23-cv-04377-RMB-EAP Document 1-3 Filed 08/11/23 Page 1 of 1 PageID: 15
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                        District of New Jersey
                                                        ____________________


                      Patent Armory Inc.                           )
                             Plaintiff                             )
                                v.                                 )      Case No.
               Rent-A-Wreck of America Inc.                        )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

                                                            Patent Armory Inc.                                                 .


Date:           8/4/2023                                                                   /s/ Antranig Garibian
                                                                                             Attorney’s signature


                                                                                             Antranig Garibian
                                                                                         Printed name and bar number


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